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 4                                UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiff,              )                 Case No. 2:12-cr-00463-JCM-VCF
                                               )
 9   vs.                                       )                 ORDER
                                               )
10   FREDERICK VERNON WILLIAMS, et al.,        )
                                               )
11                     Defendants.             )
     __________________________________________)
12
13          This matter comes before the Court on Defendant Frederick Williams’ Motion for
14   Reconsideration (#185), filed on December 26, 2013. Defendant seeks reconsideration of this
15   Court’s December 4, 2013 Order (#177) denying Defendant’s Motion to Reopen Bail (#171). The
16   Court denied the Motion (#171) pursuant to Local Rule IA 10-6(a), because it was filed in proper
17   person and the Court believed Defendant to be represented by counsel. On December 19, 2013, the
18   Magistrate Judge assigned in this matter entered an Order (#182) clarifying that counsel in this case
19   is advisory counsel only. Therefore, Defendant’s pro se Motion to Reopen Bail (#171) was
20   properly before this Court. Accordingly,
21          IT IS HEREBY ORDERED that Defendant’s Motion for Reconsideration (#185) is
22   granted.
23          IT IS FURTHER ORDERED that this Court’s December 4, 2013 Order (#177) is
24   withdrawn.
25          IT IS FURTHER ORDERED that the Clerk of the Court shall reinstate Defendant’s
26   Motion to Reopen Bail (#171).
27          IT IS FURTHER ORDERED that the Government shall have until February 17, 2014 to
28   file any opposition to the Motion to Reopen Bail (#171).
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 1         IT IS FURTHER ORDERED that a hearing on the Motion (#171) shall be conducted on
 2   February 20, 2014 at 10:30 AM in LV Courtroom 3A before the undersigned.
 3         IT IS FURTHER ORDERED that Defendant’s Emergency Motion for Hearing (#200) is
 4   denied as moot.
 5         DATED this 7th day of February, 2014.
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 7                                           ______________________________________
                                             GEORGE FOLEY, JR.
 8                                           United States Magistrate Judge
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